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  IT IS ORDERED as set forth below:



   Date: March 18, 2020
                                                       _________________________________

                                                                  Sage M. Sigler
                                                           U.S. Bankruptcy Court Judge

 ________________________________________________________________



                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                         )
                                               )   CASE NO. 19-62152-SMS
ISAAC HAMMETT,                                 )
                                               )   CHAPTER 13
      Debtor.                                  )
__________________________________             )   JUDGE SAGE M. SIGLER
                                               )
                                               )
ISAAC HAMMETT,                                 )
                                               )   ADVERSARY NO. 19-05338
         Plaintiff,                            )
                                               )
   vs.                                         )
                                               )
STATEBRIDGE COMPANY, LLC, and                  )
WATERFALL VICTORIA GRANTOR                     )
TRUST II, SERIES G                             )
                                               )
         Defendants.                           )

                                    SCHEDULING ORDER

         Upon review of the information contained in the Rule 26(f) Report completed and filed

by the parties on February 21, 2020 (Doc. 6) and incorporated herein, it is ORDERED that the

time limits and provisions stated in the Report are APPROVED.
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Proposed Order prepared and submitted by:

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Consented to by:

/s/ Bret Chaness___________
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